                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

BRENT A. WETTLE, et al.                            )    Case No. 3:22-cv-00828
                                                   )
               Plaintiff,                          )    JUDGE JEFFREY J. HELMICK
                                                   )
       v.                                          )
                                                   )    NOTICE OF SUBSTITUTION OF
UNITED STATES POSTAL SERVICE, et                   )    THE UNITED STATES OF
al.                                                )    AMERICA FOR DEFENDANT
                                                   )    LINDSEY E. MACDONALD
               Defendants.                         )
                                                   )



       NOW COMES the United States of America, by and through the undersigned counsel,

pursuant to 28 U.S.C. ' 2679(d), and gives notice to this Court of the substitution of the United

States of America as Defendant in the place and stead of Defendant Lindsey E. MacDonald, who

was at all relevant times acting in the course and scope of her duties with the United States Postal

Service (“USPS”).

       Congress has provided that the exclusive remedy for the negligent or wrongful act or

omission of an employee of the United States Government, acting within the scope of employment,

shall be an action against the United States under the Federal Tort Claims Act (FTCA), 28 U.S.C.

'' 1346(b); 2671-2680. The FTCA provides that:

               The remedy against the United States provided by sections 1346(b)
               and 2672 of this title for injury or loss of property, or personal injury
               or death arising or resulting from the negligent or wrongful act or
               omission of any employee of the Government while acting within
               the scope of his office or employment is exclusive of any other civil
               action or proceeding for money damages by reason of the same
                 subject matter against the employee whose act or omission gave rise
                 to the claim or against the estate of such employee. Any other civil
                 action or proceeding for money damages arising out of or relating to
                 the same subject matter against the employee or the employee=s
                 estate is precluded without regard to when the act or omission
                 occurred.

28 U.S.C. ' 2679(b)(1). Such action must be brought against the sovereign and not in the name

of the individual employee or an agency of the United States. See, Allgeier v. United States, 909

F.2d 869, 871 (6th Cir. 1990); see also, Good v. Ohio Edison Co., 149 F.3d 413, 418 (6th Cir.

1998)(AFTCA action naming only the United States Post Office and several individual postal

workers as defendants must be dismissed for lack of jurisdiction because the United States of

America is the only proper defendant in such an action@).

       The Complaint filed by Plaintiffs Brent A. Wettle & Heather M. Wettle allege a claim for

compensatory & special damages in the amount of $25,000.00 resulting from a collision on June

22, 2019 between a vehicle owned by the USPS and a vehicle owned by Plaintiffs. Plaintiffs’

claim for damages falls within the purview of the Federal Tort Claims Act (FTCA), which permits

individuals to recover damages for tort claims contingent on certain prerequisites. 28 U.S.C. §

2675(a). Where the plaintiff names a federal employee as a defendant in a tort action, the Attorney

General or designee must determine whether the employee was acting within the scope of his

office or employment at the time of the incident in question. 28 U.S.C. § 2679(d)(1). If so, then

the FTCA provides for the substitution of the United States for the federal employee as the party

defendant. Id.

       In the instant case, Plaintiff named Lindsey E. MacDonald as a defendant. Attached as

Exhibit A is the Certification of First Assistant United States Attorney Michelle M. Baeppler that

Defendant Lindsey E. MacDonald acted within the course and scope of her federal office or

employment at all times relevant to Plaintiffs’ claims. Pursuant to 28 C.F.R. ' 15.4, the Attorney

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General has delegated to United States Attorneys the authority to make such certifications.

       Accordingly, the United States hereby gives notice of the substitution of the United States

for Lindsey E. MacDonald as the defendant in this action. Defendant does not waive service

defects by this filing, specifically reserves improper service defenses, and preserves any other

defenses, including immunity.

                                                    Respectfully submitted,

                                                    MICHELLE M. BAEPPLER
                                                    First Assistant United States Attorney

                                                    s/ Guillermo J. Rojas
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